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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

CLEVELAND MEDICAL DEVICES INC., an                    )
Ohio Corporation,                                     )
                                                      )
                      Plaintiff,                      ) C.A. No.
                                                      )
       v.                                             ) DEMAND FOR JURY TRIAL
                                                      )
RESMED INC., a Delaware Corporation,                  )
                                                      )
                      Defendant.                      )

                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Cleveland Medical Devices Inc. (“CleveMed”) files this Complaint for Patent

Infringement and Demand for Jury Trial against ResMed Inc. (“Defendant” or “ResMed”) and

alleges as follows:

                                         THE PARTIES

       1.      CleveMed is an Ohio corporation with its principal place of business at 4415

Euclid Ave, Cleveland, Ohio 44103.

       2.      ResMed is a Delaware corporation with its principal place of business at 9001

Spectrum Center Boulevard, San Diego, California 92123. ResMed can be served through its

agent for service of process, Corporation Service Company, at 251 Little Falls Drive,

Wilmington, Delaware, 19808.

                                   JURISDICTION AND VENUE

       3.      This action for patent infringement arises under the patent laws of the United

States, 35 U.S.C. § 101 et seq. This court has original jurisdiction over this controversy pursuant

to 28 U.S.C. §§ 1331 and 1338.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and

1400(b).
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       5.      This Court has personal jurisdiction over ResMed because ResMed is

incorporated within this District and has committed acts of direct and indirect infringement in

this District, including through selling infringing products and services in this District. Further,

ResMed has submitted to the jurisdiction of this Court in at least one other instance involving a

claim of patent infringement. See New York University v. ResMed, Inc., Case No. 21-cv-00813,

D.I. 14 (D. Del. Sept. 30, 2021). Given the above, this Court’s exercise of jurisdiction over

ResMed in this action would be reasonable. Further, because ResMed is a Delaware corporation,

Delaware is a convenient forum for the resolution of the parties’ dispute.

                                CLEVEMED’S INNOVATIONS

       6.      CleveMed was founded in 1990 by its Chairman Robert N. Schmidt. CleveMed’s

core mission is to lead the world in maximizing clinical quality and patient access to diagnostics

and particularly to sleep disorder testing and therapy through innovative technologies and

services. CleveMed recognized that a better solution was needed to diagnose and treat the nearly

one in seven people in the United States who suffer from some type of chronic sleep disorder

that negatively impacts their health and quality of life.

       7.      CleveMed spent years researching and developing its services and devices aimed

at providing portable sleep testing and treatment solutions to the over 32 million patients in the

United States suspected of suffering from undiagnosed and untreated obstructive sleep apnea

(“OSA”). OSA is one of the most prevalent sleep disorders that leads a sufferer to experience

excessive sleepiness that can deteriorate their quality of life, and negatively impact their

employment, higher earning and job promotion opportunities, education, and personal life. It

also impacts workplace and driving safety, jeopardizing not only people with OSA but those

around them as well. To provide a cohesive solution to this long-standing problem, CleveMed




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focused its research and development efforts on technologies that provided testing and therapy

solutions that could be used at home by a subject, which were technologies that were not

possible previously.

       8.        After developing its innovative technologies, CleveMed offered for sale its sleep

diagnostic devices designed to treat those suffering from breathing related sleep disorders, such

as OSA. These diagnostic devices provided both the subject and health care provider with real-

time or near real-time metrics that were incredibly useful for addressing the subject’s symptoms

at different points in time. Additionally, by designing technologies for the subject to self-

monitor their use of the device and the results of their treatment, CleveMed’s novel technologies

increased the frequency that subjects used their therapy devices and their engagement with their

therapy and treatment device.

       9.        Around 2007, CleveMed began development of portable home sleep testing

solutions that were later offered commercially as its SleepView and SleepScout product lines.

Today, CleveMed’s novel SleepView product line detects sleep-disorder breathing and a

subject’s movements while they sleep at home. As the test is conducted entirely in a subject’s

home, CleveMed’s products are more accurate and meaningful because they account for

environmental conditions that may affect a subject’s sleep at home, as well as eliminate any

disturbances that may result from a subject sleeping away from home. These devices

communicate with CleveMed’s Crystal PSG software and SleepView’s Web Portal that receive

and analyze the physiological data recorded during the home sleep test and compile the results in

reports to be used in diagnosing a sleeping disorder. SleepView’s Web Portal also interprets the

physiological data recorded and creates reports that can be transmitted to other medical

professionals.




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       10.     In addition to its SleepView product line, CleveMed developed its Sapphire

product that uses CleveMed’s Web Portal. The unique Web Portal of Sapphire and SleepView

offers a secure online data management platform, providing medical professionals the benefit of

increasing the number of subjects they can accurately monitor and treat. CleveMed’s novel

solutions offer a wide range of sleep testing capabilities that could never before be conducted

while a subject sleeps at home.

       11.     CleveMed is leading the way in services and devices for home sleep disorder

testing through its innovative technology for sleep apnea testing that are portable and easy-to-use

at home. Its novel technologies also streamline operations for healthcare providers, and offers

cost-efficient testing solutions for customers.

       12.     The breadth of CleveMed’s novel offerings filled a long-felt need for a more

effective delivery of care solution that can be administered in a subject’s home. The unexpected

results of CleveMed’s technologies and products included improved outcomes for sufferers of

sleep related breathing disorders in their treatment and overall health.

       13.     In recognition of its innovation and expertise, the United States Patent and

Trademark Office (“USPTO”) awarded CleveMed 37 patents that disclose, inter alia, novel

technologies for sleep apnea diagnosis and follow-up, as well as therapy procedures and

applications. These technologies are now central to the outcome-based initiatives the healthcare

industry is initiating to manage chronic diseases.

                            CLEVEMED’S ASSERTED PATENTS

       14.     On September 18, 2018, the USPTO issued U.S. Patent No. 10,076,269 (the “’269

Patent”), entitled “Devices and Methods for Sleep Disorder Diagnosis and Treatment.” The ’269

Patent lists Hani Kayyali, Robert Schmidt, Mohammad Modarres-Zadeh, and Brian Kolkowski




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as its inventors and states that it was assigned to Cleveland Medical Devices Inc. Attached

hereto as Exhibit 1 is a true and correct copy of the ’269 Patent.

       15.     The ’269 Patent generally discloses a sleep diagnostic and treatment device and

method. In particular, it relates to an apnea diagnosis and treatment device.

       16.     On October 1, 2019, the USPTO issued U.S. Patent No. 10,426,399 (the “’399

Patent”), entitled “Method and Device for In-Home Sleep and Signal Analysis.” The ’399 Patent

lists Hani Kayyali, Craig A. Frederick, Christian Martin, Robert N. Schmidt, and Brian

Kolkowski as its inventors and states that it was assigned to Cleveland Medical Devices Inc.

Attached hereto as Exhibit 2 is a true and correct copy of the ’399 Patent.

       17.     The ’399 Patent generally discloses methods for conducting home sleep tests. In

particular, it relates to collecting physiologic and kinetic data from a subject, preferably via an

in-home data acquisition system, while the subject attempts to sleep at home.

       18.     On February 23, 2021, the USPTO issued U.S. Patent No. 10,925,535 (the “’535

Patent”), entitled “Method and Device for In-Home Sleep and Signal Analysis.” The ’535 Patent

lists Hani Kayyali, Craig A. Frederick, Christian Martin, Robert N. Schmidt, and Brian

Kolkowski as its inventors and states that it was assigned to Cleveland Medical Devices Inc.

Attached hereto as Exhibit 3 is a true and correct copy of the ’535 Patent.

       19.     The ’535 Patent generally discloses systems for conducting at-home sleep testing

that has a kinetic sensor and at least three sensors to be applied to a subject that record

physiological and kinetic events occurring while a patient sleeps and software that identifies

physiological and technological events in the data indicative of a sleeping disorder and that

analyzes the data.

       20.     On July 20, 2021, the USPTO issued U.S. Patent No. 11,064,937 (the “’937




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Patent”), entitled “Method and Device for In-Home Sleep and Signal Analysis.” The ’937 Patent

lists Hani Kayyali, Craig A. Frederick, Christian Martin, Robert N. Schmidt, and Brian

Kolkowski as its inventors and states that it was assigned to Cleveland Medical Devices Inc.

Attached hereto as Exhibit 4 is a true and correct copy of the ’937 Patent.

       21.     The ’937 Patent generally discloses systems for remote sleep testing using (a) a

nasal cannula or facemask, (b) a respiratory effort belt sensor, (c) a fingertip pulse oximeter, (d)

a portable interface box that has a processor for digitizing data and memory for storing the data,

(e) a database that is remote for receiving the collected data, and (f) software that can analyze

and identify events indicative of a sleeping disorder and (g) can transfer the collected data and/or

identify physiological and technological events.

       22.     On July 24, 2018, the USPTO issued U.S. Patent No. 10,028,698 (the “’698

Patent”), entitled “Method and Device for Sleep Analysis.” The ’698 Patent lists Craig A.

Frederick, Hani Kayyali, Robert N. Schmidt, and Brian Kolkowski as its inventors and states that

it was assigned to Cleveland Medical Devices Inc. Attached hereto as Exhibit 5 is a true and

correct copy of the ’698 Patent.

       23.     The ’698 Patent is generally directed toward methods for remote sleep analysis

and diagnosis, that involve applying at least two sensors to a subject that connect to an interface

box that can collect and transmit data for medical personnel in a remote location from the

subject, and the data is analyzed to identify physiological and technological events to medically

diagnose the patient.

       24.     On November 19, 2019, the USPTO issued U.S. Patent No. 10,478,118 (the “’118

Patent”), entitled “Method and Device for Sleep Analysis.” The ’118 Patent lists Craig A.

Frederick, Hani Kayyali, Robert N. Schmidt, and Brian Kolkowski as its inventors and states that




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it was assigned to Cleveland Medical Devices Inc. Attached hereto as Exhibit 6 is a true and

correct copy of the ’118 Patent.

       25.     The ’118 Patent is generally directed toward methods of remote sleep analysis and

diagnosis by providing a subject with a portable interface box with a nasal cannula, respiratory

effort belt sensor, and a fingertip pulse oximeter for measuring and collecting the subject’s

physiological state while the subject is attempting to sleep. This data is digitized, stored in

memory, and sent to a sleep analysis lab or database for analysis to determine whether the

subject suffers from a sleeping disorder.

       26.     On December 21, 2021, the USPTO issued U.S. Patent No. 11,202,603 (the “’603

Patent”), entitled “Method and Device for Sleep Analysis.” The ’603 Patent lists Craig A.

Frederick, Hani Kayyali, Robert N. Schmidt, and Brian Kolkowski as its inventors and states that

it was assigned to Cleveland Medical Devices Inc. Attached hereto as Exhibit 7 is a true and

correct copy of the ’603 Patent.

       27.     The ’603 Patent is generally directed toward sleep diagnostic systems and

methods of remote sleep analysis and diagnosis involving sensors that can measure or derive the

subject’s airflow or snore, respiratory effort and blood oxygenation and analyze the data for a

medical professional.

       28.     On February 1, 2022, the USPTO issued U.S. Patent No. 11,234,637 (the “’637

Patent”), entitled “Method and Device for In-Home Sleep and Signal Analysis.” The ’637 Patent

lists Hani Kayyali, Craig A. Frederick, Christian Martin, Robert N. Schmidt, and Brian

Kolkowski as its inventors and states that it was assigned to Cleveland Medical Devices Inc.

Attached hereto as Exhibit 8 is a true and correct copy of the ’637 Patent.

       29.     The ’637 Patent generally discloses systems for conducting home sleep analysis




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of a subject using devices to obtain airflow data, respiratory effort data, blood oxygenation data,

and body position data, that can transmit the data and has software that identifies events

indicative of a sleeping disorder.

       30.     CleveMed owns all rights, title, and interest in and to the ’269 Patent, ’399 Patent,

’535 Patent, ’937 Patent, ’698 Patent, ’118 Patent, ’603 Patent, and ’637 Patent (collectively “the

Asserted Patents”). The ’399 Patent, ’535 Patent, ’937 Patent, ’698 Patent, ’118 Patent, ’603

Patent, and ’637 Patent are collectively referred to as the Home Sleep Testing Patents (“HST

Patents”).

       31.     CleveMed marks its products and services with its patents in compliance with 35

U.S.C. § 287. Exs. 1-8; see also, e.g., Ex. 29. Further, CleveMed’s public website identifies

CleveMed’s issued patents in compliance with 35 U.S.C. § 287.

       32.     All of the Asserted Patents are valid and enforceable. The Asserted Patents

disclose and specifically claim inventive concepts that represent significant improvements over

conventional systems. Specifically, each of the Asserted Patents describes various techniques,

enhancing the ability of medical professionals to conduct a remote sleep test and provide

treatment to a subject while the subject sleeps at their home or another remote environment. By

allowing the testing and treatment to be conducted in a subject’s home environment or outside a

traditional sleep laboratory, the claimed inventions increase the quality and accuracy of the

subject’s diagnosis and treatment. Furthermore, these systems and methods reduce the burden

on both the subject and the clinician.

       33.      The claims of the ’269 Patent, when read in light of the specification, generally

disclose various systems for enabling sleep disorder treatment systems that record, calculate,

analyze, and transmit a subject’s physiological signals to inform not only the subject but their




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clinician of their therapy’s efficacy, but to also potentially adjust a treatment device in order to

provide the specific therapy that matches the subject’s current physiological condition.

       34.     The ’269 Patent provides a novel enhancement by using a system to connect a

positive airway pressure treatment device consisting of at least a hose and blower with sensors

that record physiological signals, a cellular phone or a base station, and a remote internet site.

The system also uses software that allows for instant or near instant analysis of the physiological

signals received. The ’269 Patent teaches one to use a processor that receives the physiological

signals to analyze those signals to determine the severity of the subject’s symptoms, a transceiver

to receive and transmit the data with the calculated severity levels, and a base station or cellular

phone with a display and software capable of displaying the received data and retransmitting that

data to a remote site so the treatment device may be adjusted, if necessary.

       35.     The result of the treatment system disclosed in the ’269 Patent is non-abstract and

yields real-world concrete results improving the functionality of sleep breathing disorder

treatment devices by altering the treatment administered based upon the present physiological

state of the subject. This functionality was beyond any solution previously available.

       36.     The claims of the ’269 Patent are rooted in computer technology and present a

specific and non-conventional solution for the computers and processors used to record

physiological conditions to test and treat subjects with sleep related breathing disorders. Prior to

the filing of the ’269 Patent, no at-home sleep breathing disorder treatment device could: (i)

adjust a subject’s treatment based in part on the subject’s current physiological state in their

regular or home use environment; (ii) monitor and/or adjust the treatment device based on data

transmitted to a remote internet site; (iii) wirelessly transmit analyzed physiological signal data

to the subject for better therapy compliance by the subject; and/or (iv) allow for remote




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adjustment of the treatment device based on the transmitted usage data, an index of the subject’s

symptoms and/or the calculated symptom severity levels.

       37.     The claims of the ’269 Patent contain innovative concepts that were not routine,

well-known, or understood in the art at the time of its filing. For example, the claims’

unconventional positive airway pressure devices with signal processing modules, internal and/or

external sensors, a processor, and transceiver, allowed for the first time the ability to record and

analyze airflow and/or pulse oximetry data, transmit the recorded and analyzed data, and use

additional computers to further analyze, display, and retransmit the recorded and analyzed data.

The simultaneous capture of physiological metrics, such as measuring airflow, the digitization of

the signals, the application of signal processing techniques, and instant calculation of these

metrics from these processed signals into indices showing the severity of events captured are

beyond human capability. Further, a human is unable to extract and send the recorded data and

calculated indices wirelessly to remote computer processing devices instantly. As such, the ’269

Patent meets the standards for patent eligibility.

       38.     The HST Patents disclose specific methods and systems that go beyond

combining generic components to perform conventional activities. The claimed inventions

improve the functionality and capabilities of computers and processors used in the recording,

analysis, and diagnosis of sleep breathing disorders. They do so by enabling the detection and

recording of different breathing disorders that occur while a subject sleeps at home or a location

remote to a sleep lab, as well as the transfer of that recording data to locations running software

and using a database (now sometimes known as the “cloud”) that can automatically analyze,

score, and present the recording data in an unconventional manner to highlight specific events

indicative of sleep breathing disorders. They further reduce the footprint of the testing devices,




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making the device truly wearable and portable, as well as easy for the user to apply. This results

in increased access and a more accurate diagnosis for the subject and an efficient and streamlined

work platform for medical professionals.

       39.     The HST Patents include specific, non-conventional steps and concepts which are

rooted in computer technology that make the claimed inventions concrete and non-abstract. For

example, certain claims of the HST Patents variously recite: attaching to the subject and

connecting to the pressure sensors within the wireless portable testing device, a nasal cannula, a

pulse oximeter, and a respiratory effort belt and sensor; simultaneously recording and storing the

physiological data collected by at least those sensors; transmitting the physiological data

collected to a remote database with a computer processor running software to: analyze the

recorded and stored data, determine the severity of the subjects’ sleep breathing disorder, and

transmit the results and determinations of the analyzed data to a location remote from the test

site. These steps cannot be simultaneously conducted by a human nor done by a human with an

acceptable level of accuracy.

       40.     The claims of the HST Patents are not routine or conventional in the art because

at the time of their filing, the conventional sleep testing methods involved using devices and

systems located within a sleep lab or medical facility. In fact, at the time of filing for the earliest

HST Patents, there was one general method for diagnosing sleep apnea: use of a questionnaire

and an all-night polysomnography evaluation in a sleep lab that could then be followed by an all-

day test, such as the Multiple Sleep Latency Test. This method produced results less efficiently

than the systems and methods disclosed in the HST Patents, and due to subjects sleeping in a

familiar location, the results of the methods and systems disclosed and claimed in the HST

Patents are more representative of the subject’s actual sleep disorder.




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       41.     In addition, the claims are rooted in computer technology as they specifically

disclose systems and methods for efficiently and accurately conducting a home sleep test,

analyzing the outcomes of that test, and sharing those results with others in the medical

community to produce a more accurate diagnosis. Thus, the claims of the HST Patents recite

specific steps to accomplish the desired result and go beyond simply claiming a result.

       42.     Accordingly, the inventions of the HST Patents allow for a new kind of system

that was not previously possible, enabling an in-depth home sleep test and analysis of multiple

data points that can be stored and shared with members of the medical community.

                                     RESMED’S PRODUCTS

       43.     ResMed makes, uses, sells, offers for sale, and/or imports into the United States

and this District products and services, including but not limited to, its sleep solutions utilizing

devices and software technologies to provide at-home or remote sleep-disordered breathing or

apnea testing, and treatment monitoring and/or adjustment (the “Accused Products”). Ex. 9 at 1-

3. ResMed’s accused products are found in two solutions: Home Sleep Testing Solution (“HST

Solution”) and Positive Airway Pressure Solution (“PAP Solution”).

       44.     ResMed’s solutions use ResMed’s software and data management platforms that

they provide to its customers, such as AirView, Rescan, myAir, U-Sleep, Brightree, and its

AirMini app. Each of these platforms receive data from the devices, and displays and transfers it

to various parties, such as customers who are home medical equipment providers, medical

professionals, and subjects who want the data. See Ex. 10.

       45.     Some of ResMed’s solutions have a pulse oximeter manufactured by NONIN

Medical (“NONIN”) that ResMed sells and offers for sale. Ex. 52 at 5 (showing NONIN

oximeter components as part of the “ApneaLink Air complete kit”); Ex. 35 at 8 (“Only use




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compatible NONIN™ finger pulse oximeters”).

       46.      To help leverage the data from its solutions, ResMed uses platforms such as U-

Sleep, a “cloud-based solution” that allows home medical equipment providers to “receive

detailed reports about patient performance and help coach sleep patients based on compliance

with defined therapy programs.” Ex. 11 at 2; see also Ex. 12 at 2-5 (showing U-Sleep

connection with AirView and myAir).

       47.      ResMed also utilizes Brightree to further monetize the data it captures from its

devices as the industry moves from a “fee-for-service” model to that of an “outcomes based

reimbursement model.” ResMed accomplishes this by integrating its AirView platform with the

platform they provide through Brightree. Ex. 13 at 1; see also Ex. 14 at 2 (Advanced Analytics

from Brightree automatically runs reports and analyzes data); Ex. 15 at 1-4 (showing Brightree

integrates with sleep testing and therapy data reports and can provide these reports to medical

professionals); Ex. 16 at 1-2 (announcing the integration of AirView and Brightree platforms).

       48.      In early 2016, ResMed acquired Brightree, further “expanding ResMed’s offering

to customer[s] of its sleep apnea humidifiers and other devices.” Ex. 17 at 1-2.

                RESMED’S POSITIVE AIRWAY PRESSURE SOLUTION

       49.      ResMed’s PAP Solutions consist of its PAP devices, its user applications, and in

some instances, modules for oximetry data collection or wireless connectivity. ResMed’s PAP

devices (herein collectively referred to as the “Accused PAP Devices”) include:

            the AirSense 10 CPAP, Elite, AutoSet, and AutoSet for Her devices (collectively
             “AirSense 10 devices”);

            the AirSense 11 CPAP, Elite, and AutoSet devices (collectively “AirSense 11”);

            the AirCurve 10 S, ST, VAuto, and ASV devices (collectively “AirCurve 10
             devices”);

            the Stellar 100 and 150 devices;


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            the Astral 100 and 150 devices; and

            the AirMini CPAP, AutoSet, and AutoSet for Her devices.

Ex. 18 at 1; Ex. 19 at 1; Ex. 20 at 6; Ex. 21 at 2-4; Ex. 22 at 1; Ex. 23 at 1-2; Ex. 24 at 1-2. An

image of the AirSense 11 is reproduced below:




Ex. 19 at 1.

       50.      As shown below, the Accused PAP Devices include a blower, mask, and airflow

and pressure sensors.




Ex. 25 at 23 (showing the flow and pressure sensors, the blower, and mask); Ex. 26 at 36 (same);

Ex. 27 at 18 (same); Ex. 28 at 18 (same); Ex. 30 at 26 (same); Ex. 38 at 37-38 (discussing use of

a mask and the existence of a blower, a airflow sensor, and a pressure sensor); Ex. 39 at 2-4


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(discussing use of a mask and the existence of a blower, a airflow sensor, and a pressure sensor).

       51.       The Accused PAP Devices contain a transceiver for transmitting and memory for

storing usage, therapy, and detailed data. Ex. 31 at 14 (indicating Bluetooth and cellular

connectivity); id. at 32 (showing wireless connectivity and SD card storage); Ex. 32 at 2

(showing cellular connectivity and SD card storage for AirSense 10 and AirCurve 10 devices);

Ex. 30 at 8-10 (showing the AirMini uses Bluetooth to connect with the AirMini App); Ex. 33 at

2 (showing Astral devices use the ResMed Connectivity Module); Ex. 34 at 1 (showing Stellar

devices use the ResMed Connectivity Module).

       52.       The Stellar 100 and 150 devices and the Astral 100 and 150 devices are capable

of filtering, processing, and outputting pulse oximeter sensor signals. Likewise, the AirSense 10

devices and AirCurve 10 devices connect with and receive pulse oximeter sensor signal using the

Air 10 Oximetry Module. Ex. 35 at 1; Ex. 36 at 2.

       53.       The Accused PAP Devices have both internal and external processors responsible

for processing the data collected by the Accused PAP Device and calculating the severity of a

subject’s symptoms. For example, as shown below, the Accused PAP Devices have an internal

processor capable of calculating and displaying therapy data such as an AHI index, usage data,

and leak data.




Ex. 31 at 22; Ex. 26 at 19 (same); Ex. 37 at 28-29 (same); Ex. 30 at 3 (the AirMini device and


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AirMini App allow a user to transfer, analyze and display usage and therapeutic information);

Ex. 38 at 123 (chart showing AHI calculated); Ex. 39 at 2 (chart showing AHI calculated).

       54.     The Accused PAP Devices transmit usage, therapy, and detailed data to a number

of external processors running such as AirView and ResScan.




Ex. 31 at 33; Ex. 40 at 1-2 (chart showing all Accused PAP Devices send data to AirView and all

but the AirMini send data to ResScan).

       55.     AirView is ResMed’s “cloud-based solution for managing patients with sleep

apnea.” Within AirView, the data received is automatically analyzed and scored “provid[ing]

detailed views of respiratory events and oxygen saturation.” AirView is also capable of

generating reports and sharing the data received and analyzed with clinical users found in

different locations. In AirView the data is analyzed, severity levels are calculated, and reports

are generated. These reports can then be accessed by other members of the medical community.

AirView also connects ResMed device data to systems used by physicians, hospitals, and home

care provider customers such as Brightree and U-Sleep.




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Ex. 41 at 2-3 (showing AirView’s therapy management and reports for sleep devices);




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Ex. 42 at 1-4; Ex. 43 at 1-4 (explaining AirView connects a patient’s sleep data and analysis with

systems used by medical professionals); Ex. 44 at 1 (showing that reports can be produced for

each patient within AirView); Ex. 12 at 2-3 (showing U-Sleep automatically connects with

CPAP data and monitors therapy data); Ex. 45 at 1-2 (showing AirView integrates with

Brightree); Ex. 16 at 1-3 (showing AirView “integrates directly with Brightree”).

       56.     ResScan is ResMed’s on-premise clinical analysis and patient data management

software that runs on a computer that allows for clinical analysis of data received from the PAP

Device using detailed statistics and summary graphs. Within ResScan, a clinician can compile

these calculated results into reports that can then be shared with other medical professionals in

remote locations. As described in the image below, ResScan allows the user to view summary

and detailed graphs based on the data received from the PAP Device as well as create a report

based on that data.




Ex. 46 at 1-2; Ex. 47 at 15-17 (showing how to download therapy data into ResScan); id. at 26-

38 (showing how the data is displayed and analyzed).

       57.     The Accused PAP Devices also connect with multiple applications found on

cellular phones or PDAs. For example, ResMed’s myAir Application provides the user with a

display of nightly sleep data and a calculation of the user’s sleep score and AHI.



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Ex. 48 at 1-9 (showing connectivity with AirSense 11); Ex. 18 at 2 (showing connectivity with

AirSense 10 Devices; Ex. 49 at 1-2 (showing connectivity with AirCurve 10 Devices).

       58.     The AirMini device connects with the AirMini Application, a mobile application

used for remote operation of the AirMini device and allows for the transfer, analysis, and display

of usage and therapeutic data.




Ex. 50 at 3 (The AirMini App “syncs up with your machine” and “lets you know how you slept

the night before”); id. at 11 (showing the AirMini App displays therapy data to the user).




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                      RESMED’S HOME SLEEP TESTING SOLUTION

       59.     ResMed’s Accused HST Solution products are ResMed’s ApneaLink Air device,

ApneaLink Software and the AirView Cloud Platform.




The below is an image of the ApneaLink Air device.




Ex. 51 at 1; Ex. 52 at 2-5.

       60.     The ApneaLink Air device, which a subject wears around their torso while they

sleep at home (as shown below), is used to detect technological and physiological events

indicative of OSA, central sleep apnea, and/or Cheyne-Stokes respiration.




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Ex. 53 at 2;




Ex. 54 at 26 (table showing “a list of all default event types automatically detected by the



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ApneaLink program and displayed in the signal curves,” including physiological events (i.e.

various types of apnea) and technological events (i.e. invalid data, missing sensors, and

insufficient signals)).

        61.     The ApneaLink Air device comes as part of a kit provided by ResMed that

includes at least the device, a nasal cannula, a belt and respirator effort sensor, a pulse oximeter,

batteries, instructions, a USB cable, and a software CD for installation on a computer.




Ex. 52 at 3; id. at 5 (listing the software CD as part of the ApneaLink Air complete kit); Ex. 55 at

2 (showing the three sensors, nasal cannula, respiratory effort belt, and a fingertip pulse

oximeter); Ex. 54 at 3 (same).

        62.     The ApneaLink Air device has at least internal batteries, non-volatile digital


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memory, a processor, a transceiver, pressure sensors that connect to the nasal cannula and

respiratory effort sensor, and a kinetic sensor.




 Ex. 52 at 6 (showing the internal memory, effort sensor, batteries, and signal recordings); Ex. 54

 at 9 (discussing the pressure sensors and their connections to the nasal cannula and effort

 sensor); id. at 18 (discussing data transfer for the ApneaAir Link); id. at 61-62 (showing the

 sensor for determining body position and movement).

       63.     The ApneaLink Air device connects the nasal cannula and respiratory effort

sensor to their respective pressure sensors via an air port. The ApneaLink Air device also

connects with the pulse oximeter.




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                                          *      *         *




Ex. 54 at 7.




Id. at 4 (showing the portable patient interface box adapted to connect the at least three sensors to

the patient).

        64.     ResMed provides instructions for how the nasal cannula, respiratory effort sensor

and belt, and pulse oximeter are applied to the subject.


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Ex. 55 at 4.




Id. at 5.




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Id. at 6.

        65.    The ApneaLink Air device records information on a subject’s respiratory effort

using the respiratory effort sensor, their pulse and oxygen saturation with the pulse oximeter,

their nasal flow with the nasal cannula, and body position with a kinetic sensor.




Ex. 54 at 60 (showing signal recordings and body position measurement sensor configuration);

Ex. 52 at 6.

        66.    The ApneaLink Air device has a transceiver for transmitting the data collected



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from the sensors to a computer running the ApneaLink Software and/or AirView.




Ex. 54 at 18 (describing a USB transceiver for uploading the collected data), 19 (describing

downloading and displaying collected data (recordings) from the device), 47 (describing

recordings, which “are accessible on your computer via USB connection”).

       67.     ApneaLink Software automatically analyzes the received data to determine a

number of sleep disorder related events including “AHI [apnea-hypopnea index], flow limitation

and snoring and later automatically generates a simple, easy-to-interpret report with a color-

keyed AHI or Risk Indicator [among other indices] for the clinician to review.” Ex. 52 at 4; Ex.

54 at 16-52.




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Ex. 52 at 2.




Ex. 52 at 4.


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       68.     ApneaLink Air Software allows for transfer of the received and analyzed data

from the ApneaLink Air device to a location remote location. Ex. 54 at 47-52 (explaining how

to use ApneaLink Software to archive, export, and email generated reports and received signal

recording data).

       69.     ApneaLink Air also sends data to AirView. See supra at ¶ 55. Within AirView,

data received from ApneaLink Air is automatically scored and “provides detailed views of

respiratory events and oxygen saturation.” AirView is also capable of sharing the data received

from ApneaLink Air and the generated reports with clinical users found in different locations.

Ex. 41 at 2.




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Ex. 42 at 1-2.




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Ex. 53 at 2.

                 RESMED’S KNOWLEDGE OF CLEVEMED’S PATENTS

       70.     CleveMed is informed and believes that ResMed is aware of the Asserted Patents

because CleveMed discussed with ResMed and sent ResMed some of the Asserted Patents and

patents related to the Asserted Patents. CleveMed is further informed and believes that ResMed

has done nothing to curtail its infringement.

       71.     Starting in 2017, CleveMed’s Executive Vice President and General Counsel had

several meetings with Michael Pinczuk, ResMed’s Vice President of Patents, and Paul Green,

ResMed’s Chief Patent Counsel, to explore potential partnership opportunities between

CleveMed and ResMed. Ex. 56; Ex. 57. During these conversations, CleveMed provided

ResMed an overview of its patented technology and discussed its issued and pending patents,

including many of the Asserted Patents. Pursuant to these conversations, ResMed requested that

CleveMed keep ResMed up-to-date with any new developments concerning CleveMed’s

patented technology.




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          72.   In response to ResMed’s request, CleveMed informed ResMed on an ongoing

basis about its patent portfolio. For example, CleveMed informed ResMed that it received a

Notice of Allowance from the United States Patent Office for a patent application covering a

system for displaying a subject’s data to be forwarded to the cloud, including apnea symptoms

and PAP device usage, and that other claims of the application cover the use of a pulse oximetry

module in combination with a PAP device flow sensor that collects sleep disorder symptoms that

are forwarded to the cloud.

          73.   ResMed had discussions with CleveMed about licensing CleveMed’s technology

and patents. CleveMed is informed and believes that ResMed studied CleveMed’s patents and

discussed CleveMed’s technology with ResMed’s management, and in turn, expressed interest in

purchasing or licensing CleveMed’s patents that related to sleep therapy. In 2018, CleveMed

sent ResMed a list of CleveMed’s then-issued patents and pending patent applications from the

PAP family chart, including the ’269 Patent. Ex. 58 (providing notice for the ’269 Patent). In

2019, CleveMed wrote to ResMed informing it that CleveMed received three additional Notices

of Allowance for patents in the integrated diagnostics and therapy family. Ex. 59.

          74.   In November of 2019, CleveMed again reached out to Mr. Green and Mr. Pinczuk

to introduce them to CleveMed’s outside patent counsel and inform them that CleveMed

received three Notices of Allowance for the ’399 and ’118 Patents and their associated families.

Ex. 59.

          75.   CleveMed is informed and believes that, despite ResMed’s notice and knowledge

of the Asserted Patents and CleveMed’s patented technology, ResMed made the deliberate

decision to sell products and services that it knew infringes CleveMed’s Asserted Patents.




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       76.     CleveMed is informed and believes that ResMed has undertaken no efforts to

avoid infringement of the Asserted Patents, despite ResMed’s knowledge and understanding that

its products and services infringe these patents. Thus, ResMed’s infringement of Asserted

Patents is willful and in egregious, warranting enhancement of damages.

       77.     CleveMed is informed and believes that ResMed knew or was willfully blind to

CleveMed’s patented technology. Despite this knowledge and/or willful blindness, ResMed has

acted with blatant and in egregious disregard for CleveMed’s patent rights with an objectively

high likelihood of infringement.

       78.     ResMed has been and is now infringing, and will continue to infringe, the

Asserted Patents in this Judicial District and elsewhere in the United States by, among other

things, making, using, importing, selling, and/or offering for sale the Accused Products.

       79.     In addition to directly infringing the Asserted Patents pursuant to 35 U.S.C. §

271(a), either literally or under the doctrine of equivalents, or both, ResMed also indirectly

infringes all the Asserted Patents by instructing, directing, and/or requiring others, including its

customers, purchasers, and users, to perform all or some of the steps of the method claims, either

literally or under the doctrine of equivalents, or both, of the Asserted Patents.

                                           COUNT I
                            (Direct Infringement of the ’269 Patent)

       80.     CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       81.     ResMed has infringed and continues to infringe at least Claim 15 of the ’269

Patent in violation of 35 U.S.C. § 271(a).

       82.     ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.



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       83.        ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       84.        ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the PAP

system described in the ’269 Patent, which includes, but is not limited to, the Accused PAP

Devices that have the ResMed Connectivity Module, the Air10 Oximetry Module, AirView,

ResScan, myAir App, and/or the AirMini App (collectively the “’269 Accused Products”). To

the extent any components of the claimed systems are provided by ResMed’s customers,

ResMed directly infringes by acting as the final assembler of the infringing system. ResMed

configures the infringing system that requires the use of the infringing components. See, e.g.,

Ex. 25 at 6-10.

       85.        The ’269 Accused Products embody the patented invention of the ’269 Patent and

infringe the ’269 Patent because they function as a positive airway pressure sleep disorder

treatment system. For example, every accused PAP Device consists of a blower having an air

output, a mask or nasal cannula, and an internal sensor adapted for measuring the respiratory

airflow of the subject and outputting airflow sensor data. See supra at ¶ 49.

       86.        The Accused PAP Devices are also capable of filtering, processing, and

outputting pulse oximeter sensor signals for at least the AirSense 10 CPAP, Elite, AutoSet, and

AutoSet for Her devices; the AirCurve 10 S, ST, VAuto, and ASV devices; the Stellar 100 and

150 devices; and the Astral 100 and 150 devices. See supra at ¶ 52.




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         87.   The Accused PAP Devices also contain a transceiver that receives and transmits

the therapy data and detailed data related to a subject’s sleeping disorder symptoms and its

severity to a remote location. See supra at ¶¶ 51, 53.

         88.   The Accused PAP Devices have both internal and external processors responsible

for receiving airflow sensor data and calculating the severity of the subject’s sleep related

breathing symptoms and/or an index of the subject’s symptoms determined while the subject

used the Accused PAP Device. See supra at ¶¶ 53-58.

         89.   The Accused PAP Devices are capable of wirelessly sending a subject’s symptom

data and/or the index of the subject’s symptoms to a base station, cellular phone, or PDA running

ResMed’s software and/or applications. See supra at ¶ 51.

         90.    The base station, cellular phone, or PDA comprising a wireless module

transceiver, a processor, a display, and software. The base station, cellular phone, or PDA are

further adapted to display and retransmit the subject’s symptom data and/or the index of the

subject’s symptoms to a remote internet site using the wireless transceiver of the base station,

cellular phone, or PDA. See supra at ¶¶ 54-58.

         91.   ResMed’s infringement of the ’269 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

         92.   CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology at least as early as September 4, 2018. ResMed’s actions are willful, blatant

and in egregious disregard for CleveMed’s patent rights. ResMed’s infringement has caused and

is continuing to cause damage and irreparable injury to CleveMed, and CleveMed will continue

to suffer damage and irreparable injury unless and until such infringement is enjoined by this

Court.




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       93.     ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’269 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                             COUNT II
                             (Indirect Infringement of the ’269 Patent)

       94.     CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       95.     CleveMed is informed and believes ResMed has induced infringement of at least

Claim 15 of the ’269 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 15 of the ’269 Patent under 35

U.S.C. § 271(c).

       96.     CleveMed is informed and believes ResMed had knowledge of the ’269 Patent

and the ’269 Accused Products’ infringement of the Asserted Patents because in 2018, CleveMed

sent ResMed a list of CleveMed’s then issued and pending patents from the PAP family chart,

including the ’269 Patent.

       97.     CleveMed is informed and believes ResMed has induced infringement of the ’269

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to provide one or more components of the patented

system either literally or under the doctrine of equivalents. All the elements of the claims are

used by either ResMed, its customers, partners, purchasers, and/or users, or some combination

thereof. CleveMed is informed and believes ResMed has known or was willfully blind to the

fact that it is inducing others to infringe by practicing, either themselves or in conjunction with

ResMed, one or more claims of the ’269 Patent, including Claim 15.




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       98.     CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’269 Patent by instructing and encouraging its customers,

purchasers, and/or users, and/or partners to meet the elements of the ’269 Patent with the ’269

Accused Products, despite knowing or remaining willfully blind to the fact that the encouraged

acts caused infringement. Such instructions and encouragement include, but are not limited to,

advising third parties to use the ’269 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’269 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’269 Accused Products must be used, and

shows them being used in an infringing manner.

       99.     CleveMed is informed and believes ResMed contributorily infringes the ’269

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView,

ResScan, myAir App, and the AirMini App, as well as computer systems with software installed

such as the Accused PAP Devices, that act as a material component of the claims of the ’269

Patent. CleveMed is informed and believes ResMed knows that its products are particularly

suited to be used in an infringing manner and that ResMed is aware that its products are not

staple articles suitable for substantial non-infringing use. CleveMed is informed and believes

ResMed has known or was willfully blind to the fact that it is contributing to the direct

infringement of one or more claims of the ’269 Patent by its customers, partners, purchasers, and

users, including Claim 15.




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       100.    In particular, ResMed has at least provided the ’269 Accused Products to others as

positive airway pressure devices and computer technologies and these products are a material

part and/or component of the claims of the ’269 Patent. CleveMed is informed and believes

ResMed knows that its products are particularly suited to be used on or in combination with

ResMed’s PAP Devices and computer technologies, and that these products are made and

adapted for this use, even if some of these components are not sold by ResMed with, or as part

of, the ’269 Accused Products. In fact, in many cases, the ’269 Accused Products can only

function when used with these computer technologies. For example, ResMed markets the PAP

devices and each of the myAir and AirView software together, stating first, “[u]sers of AirSense

11 will have access to enhanced myAir features like Personal Therapy Assistant and Care Check-

In,” (Ex. 48 at 1) and second, “[a]ll AirSense 11 devices are supported with Air Solutions, our

robust sleep therapy system. This includes our digital health technologies, ResMed AirView™

and myAir” (Ex. 20 at 7).

       101.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’269 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’269 Accused Products together with its customers, partners,

purchasers, and/or users to meet the elements of the ’269 Patent, as described above and

incorporated by reference here.

       102.    ResMed’s indirect infringement of the ’269 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       103.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.




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       104.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       105.    ResMed has had knowledge of CleveMed’s ’269 Patent since at least as early as

September 4, 2018. ResMed’s actions are willful, blatant and in egregious disregard for

CleveMed’s patent rights. ResMed’s infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       106.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’269 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                          COUNT III
                            (Direct Infringement of the ’399 Patent)

       107.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       108.    ResMed has infringed and continues to infringe at least Claim 1 of the ’399 Patent

in violation of 35 U.S.C. § 271(a).

       109.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.

       110.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       111.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’399 Patent, which includes, but is not limited to, the Accused HST



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Solution: the ApneaLink Air device that has ApneaLink Software and/or AirView (collectively,

the “’399 Accused Products”).

        112.    CleveMed is informed and believes ResMed directs and controls the methods in

the claims and obtains benefits from the control of the system as a whole. CleveMed is informed

and believes ResMed conditions participation in the infringing activity and establishes the

manner or timing of that performance, as described below, by instructing and encouraging users

to use the ‘399 Accused Products in an infringing manner. ResMed and its customers, partners,

purchasers, and/or users put the article of manufacture and methods described in the claims into

service to the benefit of ResMed’s ability to further enhance its sleep therapy capabilities. See,

e.g., Ex. 13 at 1-2.

        113.    The ’399 Accused Products embody the patented invention of the ’399 Patent and

infringe the ’399 Patent because through their use, ResMed provides a method for conducting

home sleep testing. For example, ResMed provides a subject with the ApneaLink Air device

which is a portable patient interface box worn around the subject’s torso, a nasal cannula or

facemask to measure airflow, a respiratory effort belt sensor to measure the respiratory effort of

the subject, and a fingertip pulse oximeter for measuring the oxygenation of the subject. See

supra at ¶¶ 59-64.

        114.    The ApneaLink Air comprises a battery, at least one kinetic sensor for measuring

body position, a nonvolatile digital memory, a pressure transducer, an air port adapted for

connecting the nasal cannula or facemask to the pressure transducer within the interface box and

releasable connectors to connect and disconnect the respiratory effort belt sensor and fingertip

pulse oximeter. See supra at ¶¶ 61-63.




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       115.    The ApneaLink Air further applies and connects the nasal cannula or facemask,

the respiratory effort belt, and the fingertip pulse oximeter to the subject, and the interface box to

the subject’s torso. See supra at ¶¶ 63-64.

       116.    The ApneaLink Air measures and collects data through the interface box of the

airflow, respiratory effort, body position, or orientation and oxygenation of the subject while the

subject attempts to sleep at home. See supra at ¶ 65.

       117.    The ApneaLink Air digitizes and stores the collected data from the subject in the

nonvolatile digital memory of the interface box. See supra at ¶ 62 (showing a 48 hour recording

period is stored on the ApneaLink Air’s internal memory).

       118.    The ApneaLink Air transfers the collected data to a location remote from the

subject’s home. See supra at ¶¶ 66-69.

       119.    The ’399 Accused Products additionally use a computer or a processor that runs

AirView and/or ApneaLink Software at the remote location for analyzing the transferred

collected data to identify and draw attention to physiological or technological events in the data

indicative of a sleeping disorder. See supra at ¶¶ 59, 67, 69.

       120.    The ApneaLink Software and AirView provide for further analysis of the

transferred collected data and/or the identified physiological and technological events in the data

at the remote location to determine whether the subject suffers from a sleeping disorder. For

example, the ApneaLink Software has a Re-analyze tool “that repeats the analysis of a recording

based on the set analysis parameters” and “modif[ies] the report, the patient record or the records

(waveform data).” AirView also allows a user to customize the types of reports generated. See

Ex. 54 at 21; Ex. 42 at 1-2.




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         121.   ResMed’s infringement of the ’399 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

         122.   CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology at least as early as November 2019. ResMed’s actions are willful, blatant

and in egregious disregard for CleveMed’s patent rights. ResMed’s infringement has caused and

is continuing to cause damage and irreparable injury to CleveMed, and CleveMed will continue

to suffer damage and irreparable injury unless and until such infringement is enjoined by this

Court.

         123.   ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’399 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                           COUNT IV
                           (Indirect Infringement of the ’399 Patent)

         124.   CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

         125.   CleveMed is informed and believes ResMed has induced infringement of at least

Claim 1 of the ’399 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 1 of the ’399 Patent under 35

U.S.C. § 271(c).

         126.   CleveMed is informed and believes ResMed had knowledge of the ’399 Patent

and the ’399 Accused Products’ infringement of the Asserted Patents because in November

2019, CleveMed informed ResMed that CleveMed received Notices of Allowance for the ’399

Patent and its associated families.




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       127.    CleveMed is informed and believes ResMed has induced infringement of the ’399

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to perform one or more of the steps of the method

claims either literally or under the doctrine of equivalents. All the elements of the claims are

used by either ResMed, its customers, partners, purchasers, and/or users or some combination

thereof. CleveMed is informed and believes ResMed has known or was willfully blind to the

fact that it is inducing others to infringe by practicing, either themselves or in conjunction with

ResMed, one or more claims of the ’399 Patent, including Claim 1.

       128.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’399 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’399 Patent with the Accused

Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement includes, but are not limited to,

advising third parties to use the ’399 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’399 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’399 Accused Products must be used and

shows them being used in an infringing manner.

       129.    CleveMed is informed and believes ResMed contributorily infringes the ’399

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and




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ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’399 Patent. In particular,

CleveMed is informed and believes ResMed knows that its products are particularly suited to be

used in an infringing manner and that ResMed is aware that its products are not staple articles

suitable for substantial non-infringing use. CleveMed is informed and believes ResMed has

known or was willfully blind to the fact that it is contributing to the direct infringement of one or

more claims of the ’399 Patent by its customers, partners, purchasers, and users, including Claim

1.

       130.    In particular, CleveMed is informed and believes ResMed has at least provided

the ’399 Accused Products to others as home sleep testing devices and computer technologies

and these products are a material part and/or component of the claims of the ’399 Patent.

ResMed knows that its products are particularly suited to be used on, or in combination with

ResMed’s HST Devices and computer technologies and that these products are made and

adapted for this use, even if some of these components are not sold by ResMed with, or as part

of, the ’399 Accused Products. In fact, in many cases, the ’399 Accused Products can only

function when used with these computer technologies. For example, ResMed markets the

ApneaLink Air and ApneaLink Air Software together, stating “ApneaLink Air software provides

clinicians access to a more in-depth view of their patients’ recordings.” Ex. 52 at 2. Further,

ResMed markets the ApneaLink Air and AirView together, stating, “[t]est results from the

ApneaLink Air are saved to a secure database in the cloud [AirView] giving your sleep lab

online access anytime and improving collaboration across your business.” Ex. 53 at 3.

       131.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’399 Patent by its manufacture, use, offer to sell,




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sale, and importation of the ’399 Accused Products together with its customers, partners,

purchasers, and/or users to meet the elements of the ’399 Patent, as described above and

incorporated by reference here.

       132.    ResMed’s indirect infringement of the ’399 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       133.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       134.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       135.    ResMed has had knowledge of CleveMed’s ’399 Patent since at least as early as

November 2019. ResMed’s actions are willful, blatant and in egregious disregard for

CleveMed’s patent rights. ResMed’s infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       136.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’399 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                           COUNT V
                            (Direct Infringement of the ’535 Patent)

       137.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       138.    ResMed has infringed and continues to infringe at least Claim 15 of the ’535

Patent in violation of 35 U.S.C. § 271(a).



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       139.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.

       140.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       141.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’535 Patent, which includes, but is not limited to, the Accused HST

Solution: the ApneaLink Air device that has ApneaLink Software and/or AirView (collectively,

the “’535 Accused Products”). To the extent any components of the claimed systems are

provided by ResMed’s customers, ResMed directly infringes by acting as the final assembler of

the infringing system. ResMed configures the infringing system that requires the use of the

infringing components. See, e.g., Ex. 54 at 5-15.

       142.    The ’535 Accused Products embody the patented invention of the ’535 Patent and

infringe the ’535 Patent because they function as a system for conducting an at-home sleep

analysis. For example, the ApneaLink Air is a portable interface box worn on a subject’s torso

that connects to at least three sensors, a nasal cannula or facemask for measuring airflow of the

subject, a respiratory effort belt for measuring respiratory effort, and a fingertip pulse oximeter

for measuring oxygenation of the subject while they sleep or attempt to sleep. See supra at

¶¶ 59-63.

       143.    The ApneaLink Air comprises a battery, at least one kinetic sensor for measuring

body position, a nonvolatile digital memory, a pressure transducer, an air port adapted for

connecting the nasal cannula or facemask to the pressure transducer within the interface box, and




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a processor adapted for collecting, measuring, digitizing, and storing collected data to the

nonvolatile digital memory from the airflow, respiratory effort, blood oxygenation, and body

position of the subject. See supra at ¶¶ 62-63.

       144.    The ApneaLink Air further comprises a transceiver adapted for uploading the

collected data from the memory, and releasable connector sensor inputs adapted to electrically

connect and disconnect the respiratory effort belt sensor and the fingertip pulse oximeter. See

supra at ¶¶ 63-64, 66 .

       145.    The ApneaLink Software and AirView contain a database that is remote from the

subject and adapted for receiving the collected data transferring from the transceiver. See Ex. 54

at 18 (describing running the ApneaLink software to complete data transfer and analysis, and

having a database containing collected data, including recordings and reports), id. at 20 (showing

a database containing “[p]atient details, recordings, and reports”); see also Ex. 54 at 3 (“Test

results from the ApneaLink Air are saved to a secure database in the cloud, giving your sleep lab

online access anytime and improving collaboration across your business.”).

       146.    The ApneaLink Air Software and AirView automatically analyzes the collected

data from the database to identify and draw attention to physiological or technological events in

the data indicative of a sleeping disorder. See supra at ¶¶ 59, 67-69; see also Ex. 54 at 41 (the

ApneaLink software uses a number of “[a]nalysis indices” to further analyze the data, e.g.

“apnea-hypopnea index,” “risk indicator,” “% Flow limited breaths without Sn (FL),” “SpO 2

evaluation period,” “Oxygen Desaturation Index,” “Pulse,” and “Proportion of probable Cheyne-

Stokes epochs.”); Ex. 60 at 1-2 (AirView’s report guide “outlines the types of reports that you can

generate in . . . AirView” and describes common graphs used in the various AirView reports,

including those showing “Usage, Leak, Events and SpO2”).




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       147.    The ApneaLink Software and AirView provide for further analysis and displaying

and/or printing of the transferred collected data and/or the identified physiological and

technological events in the data at the remote location to determine whether the subject suffers

from a sleeping disorder. For example, the ApneaLink Software has a Re-analyze tool “that

repeats the analysis of a recording based on the set analysis parameters” and “modif[ies] the

report, the patient record or the records (waveform data).” AirView also allows a user to

customize the types of reports generated. See Ex. 54 at 21; Ex. 42 at 1-2.

       148.    ResMed’s infringement of the ’535 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       149.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier. ResMed’s

actions are willful, blatant and in egregious disregard for CleveMed’s patent rights. ResMed’s

infringement has caused and is continuing to cause damage and irreparable injury to CleveMed,

and CleveMed will continue to suffer damage and irreparable injury unless and until such

infringement is enjoined by this Court.

       150.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’535 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                           COUNT VI
                           (Indirect Infringement of the ’535 Patent)

       151.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       152.    CleveMed is informed and believes ResMed has induced infringement of at least

Claim 15 of the ’535 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and



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believes ResMed has also contributorily infringed at least Claim 15 of the ’535 Patent under 35

U.S.C. § 271(c).

       153.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier.

       154.    CleveMed is informed and believes ResMed has induced infringement of the ’535

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to provide one or more components of the article of

manufacturing, either literally or under the doctrine of equivalents. All the elements of the

claims are used by either ResMed, its customers, partners, purchasers, and/or users or some

combination thereof. CleveMed is informed and believes ResMed has known or was willfully

blind to the fact that it is inducing others to infringe by practicing, either themselves or in

conjunction with ResMed, one or more claims of the ’535 Patent, including Claim 15.

       155.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’535 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’535 Patent with the Accused

Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement include, but are not limited to,

advising third parties to use the ’535 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, and partners how to install and configure the Accused

Products; and by advertising and promoting the use of the ’535 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,




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white papers, and trainings to third parties on how the ’535 Accused Products must be used and

shows them being used in an infringing manner.

       156.    CleveMed is informed and believes ResMed contributorily infringes the ’535

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and

ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’535 Patent. In particular, ResMed

knows that its products are particularly suited to be used in an infringing manner and ResMed is

aware that its products are not staple articles suitable for substantial non-infringing use.

CleveMed is informed and believes ResMed has known or was willfully blind to the fact that it is

contributing to the direct infringement of one or more claims of the ’535 Patent by its customers,

partners, purchasers, and users, including Claim 15.

       157.    In particular, ResMed has at least provided the ’535 Accused Products to others as

home sleep testing devices and computer technologies and these products are a material part

and/or component of the claims of the ’535 Patent. ResMed knows that its products are

particularly suited to be used on, or in combination with ResMed’s HST Devices and computer

technologies and that these products are made and adapted for this use, even if some of these

components are not sold by ResMed with, or as part of, the ’535 Accused Products. In fact, in

many cases, the ’535 Accused Products can only function when used with these computer

technologies. For example, ResMed markets the ApneaLink Air and ApneaLink Air Software

together, stating “ApneaLink Air software provides clinicians access to a more in-depth view of

their patients’ recordings.” Ex. 52 at 2. Further, ResMed markets the ApneaLink Air and

AirView together, stating, “[t]est results from the ApneaLink Air are saved to a secure database




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in the cloud [AirView] giving your sleep lab online access anytime and improving collaboration

across your business.” Ex. 53 at 3.

       158.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’535 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’535 Accused Products together with its customers, partners,

purchasers, and/or users to meet the elements of the ’535 Patent, as described above and

incorporated by reference here.

       159.    ResMed’s indirect infringement of the ’535 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       160.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       161.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       162.    ResMed’s actions are willful, blatant and in egregious disregard for CleveMed’s

patent rights. ResMed’s infringement has caused and is continuing to cause damage and

irreparable injury to CleveMed, and CleveMed will continue to suffer damage and irreparable

injury unless and until such infringement is enjoined by this Court.

       163.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’535 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.




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                                          COUNT VII
                            (Direct Infringement of the ’937 Patent)

       164.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       165.    ResMed has infringed and continues to infringe at least Claim 1 of the ’937 Patent

in violation of 35 U.S.C. § 271(a).

       166.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.

       167.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       168.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’937 Patent, which includes, but is not limited to, the Accused HST

Solution: the ApneaLink Air device that has ApneaLink Software and/or AirView (collectively,

the “’937 Accused Products”). To the extent any components of the claimed systems are

provided by ResMed’s customers, ResMed directly infringes by acting as the final assembler of

the infringing system. ResMed configures the infringing system that requires the use of the

infringing components. See, e.g., Ex. 54 at 5-15.

       169.    The ’937 Accused Products embody the patented invention of the ’937 Patent and

infringe the ’937 Patent because they function as a system for conducting a remote sleep analysis

of a subject. For example, the ApneaLink Air device is a portable interface box adapted for

connecting to (1) a nasal cannula or facemask adapted to be applied to a subject for measuring

airflow; (2) a respiratory effort belt adapted to be applied to a subject for measuring respiratory



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effort; and (3) a fingertip pulse oximeter adapted to be applied to a subject, for measuring blood

oxygenation and electrically connects to the ApneaLink Air device. See supra at ¶¶ 59-64.

       170.    The ApneaLink Air device comprises a battery, at least one kinetic sensor, a

processor adapted for collecting, measuring, and digitizing data corresponding to the airflow,

respiratory effort and blood oxygenation of the subject, and non-volatile memory for receiving

and storing the data from the processor. See supra at ¶¶ 61-62.

       171.    ApneaLink Air further comprises a transceiver adapted for uploading the

collected data, releasable connector sensor inputs adapted to electrically connect and disconnect

the respiratory effort belt and the fingertip pulse oximeter, and a sensor input adapted to

electrically connect the fingertip pulse oximeter. See supra at ¶¶ 63-66

       172.    The ApneaLink Air device has a first pressure transducer that connects the nasal

cannula or face mask via an air port. See supra at ¶ 62; see also Ex. 54 at 6 (describing a first

pressure transducer (i.e. pressure sensor)’s ability to record a pressure change).

       173.    The ApneaLink Air additionally comprises a second pressure transducer and a

second air port adapted for connecting the respiratory effort sensor to the second pressure

transducer. See supra at ¶ 62; see also Ex. 54 at 6 (describing a second pressure transducer (i.e.

pressure sensor)’s ability to record a pressure change).

       174.    The ApneaLink Software and AirView contain a database that is remote from the

subject and adapted for receiving the collected data transferring from the transceiver. See Ex. 54

at 18 (describing running the ApneaLink software to complete data transfer and analysis, and

having a database containing collected data, including recordings and reports), id. at 20 (showing

a database containing “[p]atient details, recordings, and reports”); see also Ex. 53 at 3 ( “Test




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results from the ApneaLink Air are saved to a secure database in the cloud, giving your sleep lab

online access anytime and improving collaboration across your business.”).

       175.    ApneaLink Air Software and AirView are software programs that are stored on

computer readable storage media and when executed by a computing device, automatically

analyze the collected data from the database to identify and draw attention to physiological or

technological events in the data indicative of a sleeping disorder. See supra at ¶¶ 59, 67-69; see

also Ex. 54 at 41 (the ApneaLink software uses a number of “[a]nalysis indices” to further

analyze the data, e.g. “apnea-hypopnea index,” “risk indicator,” “% Flow limited breaths without

Sn (FL),” “SpO2 evaluation period,” “Oxygen Desaturation Index,” “Pulse,” and “Proportion of

probable Cheyne-Stokes epochs.”); Ex. 60 at 1-2 (AirView’s report guide “outlines the types of

reports that you can generate in . . . AirView” and describes common graphs used in the various

AirView reports, including those showing “Usage, Leak, Events and SpO 2”).

       176.    ApneaLink Air Software and AirView are additionally adapted for outputting at

least: (i) the transferred collected data, (ii) the identified physiological and technological events,

or (iii) both (i) and (ii) to determine whether the subject suffers from a sleeping disorder. See

supra at ¶¶ 68-69.

       177.    ResMed’s infringement of the ’937 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       178.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier. ResMed’s

actions are willful, blatant and in egregious disregard for CleveMed’s patent rights. ResMed’s

infringement has caused and is continuing to cause damage and irreparable injury to CleveMed,




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and CleveMed will continue to suffer damage and irreparable injury unless and until such

infringement is enjoined by this Court.

       179.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’937 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                           COUNT VIII
                            (Indirect Infringement of the ’937 Patent)

       180.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       181.    CleveMed is informed and believes ResMed has induced infringement of at least

Claim 1 of the ’937 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 1 of the ’937 Patent under 35

U.S.C. § 271(c).

       182.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier.

       183.    CleveMed is informed and believes ResMed has induced infringement of the ’937

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to provide one or more components of the article of

manufacturing, either literally or under the doctrine of equivalents. All the elements of the

claims are used by either ResMed, its customers, partners, purchasers, and/or users or some

combination thereof. CleveMed is informed and believes ResMed has known or was willfully

blind to the fact that it is inducing others to infringe by practicing, either themselves or in

conjunction with ResMed, one or more claims of the ’937 Patent, including Claim 1.




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       184.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’937 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’937 Patent with the ’937 Accused

Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement include, but are not limited to,

advising third parties to use the ’937 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’937 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’937 Accused Products must be used and

shows them being used in an infringing manner.

       185.    CleveMed is informed and believes ResMed contributorily infringes the ’937

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and

ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’937 Patent. In particular, ResMed

knows that its products are particularly suited to be used in an infringing manner and that

ResMed is aware that its products are not staple articles suitable for substantial non-infringing

use. CleveMed is informed and believes ResMed has known or was willfully blind to the fact

that it is contributing to the direct infringement of one or more claims of the ’937 Patent by its

customers, partners, purchasers, and users, including Claim 1.




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       186.    In particular, ResMed has at least provided the ’937 Accused Products to others as

home sleep testing devices and computer technologies and these products are a material part

and/or component of the claims of the ’937 Patent. ResMed knows that its products are

particularly suited to be used on, or in combination with ResMed’s HST Devices and computer

technologies and that these products are made and adapted for this use, even if some of these

components are not sold by ResMed with, or as part of, the ’937 Accused Products. In fact, in

many cases, the ’937 Accused Products can only function when used with these computer

technologies. For example, ResMed markets the ApneaLink Air and ApneaLink Air Software

together, stating “ApneaLink Air software provides clinicians access to a more in-depth view of

their patients’ recordings.” Ex. 52 at 2. Further, ResMed markets the ApneaLink Air and

AirView together, stating, “[t]est results from the ApneaLink Air are saved to a secure database

in the cloud [AirView] giving your sleep lab online access anytime and improving collaboration

across your business.” Ex. 53 at 3.

       187.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’937 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’937 Accused Products together with its customers, partners,

purchasers, and/or users to meet the elements of the ’937 Patent, as described above and

incorporated by reference here.

       188.    ResMed’s indirect infringement of the ’937 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       189.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.




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       190.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       191.    ResMed’s actions are willful, blatant and in egregious disregard for CleveMed’s

patent rights. ResMed’s infringement has caused and is continuing to cause damage and

irreparable injury to CleveMed, and CleveMed will continue to suffer damage and irreparable

injury unless and until such infringement is enjoined by this Court.

       192.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’937 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                          COUNT IX
                            (Direct Infringement of the ’698 Patent)

       193.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       194.    ResMed has infringed and continues to infringe at least Claim 14 of the ’698

Patent in violation of 35 U.S.C. § 271(a).

       195.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.

       196.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       197.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’698 Patent, which includes, but is not limited to, the Accused HST




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Solution: the ApneaLink Air device that has ApneaLink Software and/or the AirView

(collectively, the “’698 Accused Products”).

       198.    CleveMed is informed and believes ResMed directs and controls the systems and

methods in the claims and obtains benefits from the control of the system as a whole. CleveMed

is informed and believes ResMed conditions participation in the infringing activity and

establishes the manner or timing of that performance, as described below, by instructing and

encouraging users to use the ‘698 Accused Products in an infringing manner. ResMed and its

customers, partners, purchasers, and/or users put the article of manufacture and methods

described in the claims into service to the benefit of ResMed’s ability to further enhance its sleep

therapy capabilities. See, e.g., Ex. 13 at 1-2.

       199.    The ’698 Accused Products embody the patented invention of the ’698 Patent and

infringe the ’698 Patent because they function as a method of remote sleep analysis and

diagnosis. For example, ResMed instructs subjects to apply at least two sensors to a subject

located in a facility remote to a sleep analysis unit or lab, the at least two sensors including a

respiratory belt sensor and an airflow sensor, the respiratory belt sensor being electrically

hardwired and releasably connected to the ApneaLink Air device which is a portable interface box

worn or carried by the subject, and the airflow sensor internal to the same interface box and adapted

to be applied to the subject through a nasal cannula or breathing mask. See supra at ¶¶ 59-63.

       200.    The ApneaLink Air connects directly to both the respiratory effort sensor and the

nasal cannula. See supra at ¶ 63.

       201.    The ApneaLink Air device comprises a memory device, a battery, and electronics,

which are programmed to collect and transmit data to an electronic interface for receiving the

data for review by medical personnel. See supra at ¶ 62 (showing ApneaLink Air has internal




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memory, a battery, and electronics (i.e. “enhanced hardware,” sensors) that collect data); id. at

¶ 66 (showing ApneaLink Air has a transceiver to transmit data to an electronic interface).

       202.     The ApneaLink Air device transmits the data collected on the device to an

electronic interface (i.e. the computer running the ApneaLink Software and/or AirView) for

receiving the data for review by health care professionals. See supra at ¶¶ 64-65, 67.

       203.     The ApneaLink Air device also collects data in real-time from the respiratory

effort sensor worn on the belt and the air flow sensor and stores the data on the memory device

of the ApneaLink Air device. See supra at ¶¶ 62, 65.

       204.     The ApneaLink Air device transmits the data from the device to the electronic

interface at a sleep unit, lab, or a database accessible to health care professionals running

ApneaLink Software and/or AirView. See supra at ¶ 66.

       205.     The ApneaLink Software and AirView are software that runs on a computer that

identifies and draws attention to physiological or technological events in the data. See supra at

¶¶ 59, 67-69.

       206.     The ApneaLink Software and AirView provide for further analysis and of the

transmitted data and the identified physiological and technological events to medically diagnose

whether a subject suffers from a sleep disorder. For example, the ApneaLink Software has a Re-

analyze tool “that repeats the analysis of a recording based on the set analysis parameters” and

“modif[ies] the report, the patient record or the records (waveform data).” AirView also allows a

user to customize the types of reports generated. See Ex. 54 at 21; Ex. 42 at 1-2.

       207.     Through ApneaLink Software and/or AirView the diagnosis can be

communicated to the subject. See supra at ¶¶ 68-69.




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       208.    ResMed’s infringement of the ’698 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       209.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier. ResMed’s

actions are willful, blatant and in egregious disregard for CleveMed’s patent rights. ResMed’s

infringement has caused and is continuing to cause damage and irreparable injury to CleveMed,

and CleveMed will continue to suffer damage and irreparable injury unless and until such

infringement is enjoined by this Court.

       210.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’698 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                           COUNT X
                           (Indirect Infringement of the ’698 Patent)

       211.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       212.    CleveMed is informed and believes ResMed has induced infringement of at least

Claim 14 of the ’698 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 14 of the ’698 Patent under 35

U.S.C. § 271(c).

       213.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier.

       214.    CleveMed is informed and believes ResMed has induced infringement of the ’698

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to perform one or more of the steps of the method



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claims either literally or under the doctrine of equivalents. All the elements of the claims are

used by either ResMed, its customers, partners, purchasers, and/or users or some combination

thereof. CleveMed is informed and believes ResMed has known or was willfully blind to the

fact that it is inducing others to infringe by practicing, either themselves or in conjunction with

ResMed, one or more claims of the ’698 Patent, including Claim 14.

       215.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’698 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’698 Patent with the ’698 Accused

Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement included, but is not limited to,

advising third parties to use the ’698 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’698 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’698 Accused Products must be used and

shows them being used in an infringing manner.

       216.    CleveMed is informed and believes ResMed contributorily infringes the ’698

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and

ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’698 Patent. In particular, ResMed

knows that its products are particularly suited to be used in an infringing manner and that




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ResMed is aware that its products are not staple articles suitable for substantial non-infringing

use. CleveMed is informed and believes ResMed has known or was willfully blind to the fact

that it is contributing to the direct infringement of one or more claims of the ’698 Patent by its

customers, partners, purchasers, and users, including Claim 14.

       217.    In particular, ResMed has at least provided the ’698 Accused Products to others as

home sleep testing devices and computer technologies and these products are a material part

and/or component of the claims of the ’698 Patent. ResMed knows that its products are

particularly suited to be used on, or in combination with ResMed’s HST Devices and computer

technologies and that these products are made and adapted for this use, even if some of these

components are not sold by ResMed with, or as part of, the ’698 Accused Products. In fact, in

many cases, the ’698 Accused Products can only function when used with these computer

technologies. For example, ResMed markets the ApneaLink Air and ApneaLink Air Software

together, stating “ApneaLink Air software provides clinicians access to a more in-depth view of

their patients’ recordings.” Ex. 52 at 2. Further, ResMed markets the ApneaLink Air and

AirView together, stating, “[t]est results from the ApneaLink Air are saved to a secure database

in the cloud [AirView] giving your sleep lab online access anytime and improving collaboration

across your business.” Ex. 53 at 3.

       218.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’698 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’698 Accused Products together with its customers, partners,

purchasers, and/or users to meet the elements of the ’698 Patent, as described above and

incorporated by reference here.




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       219.    ResMed’s indirect infringement of the ’698 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       220.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       221.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       222.    ResMed’s actions are willful, blatant and in egregious disregard for CleveMed’s

patent rights. ResMed’s infringement has caused and is continuing to cause damage and

irreparable injury to CleveMed, and CleveMed will continue to suffer damage and irreparable

injury unless and until such infringement is enjoined by this Court.

       223.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’698 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                          COUNT XI
                            (Direct Infringement of the ’118 Patent)

       224.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       225.    ResMed has infringed and continues to infringe at least Claim 1 of the ’118 Patent

in violation of 35 U.S.C. § 271(a).

       226.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.




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       227.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       228.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’118 Patent, which includes, but is not limited to, the Accused HST

Solution: the ApneaLink Air device that has ApneaLink Software and/or the AirView

(collectively, the “’118 Accused Products”).

       229.    CleveMed is informed and believes ResMed directs and controls the systems and

methods in the claims and obtains benefits from the control of the system as a whole. CleveMed

is informed and believes ResMed conditions participation in the infringing activity and

establishes the manner or timing of that performance, as described below, by instructing and

encouraging users to use the ‘118 Accused Products in an infringing manner. ResMed and its

customers, partners, purchasers, and/or users put the article of manufacture and methods

described in the claims into service to the benefit of ResMed’s ability to further enhance its sleep

therapy capabilities. See, e.g., Ex. 13 at 1-2.

       230.    The ’118 Accused Products embody the patented invention of the ’118 Patent and

infringe the ’118 Patent because they function as a method of remote sleep analysis and

diagnosis. For example, ResMed provides a subject with the ApneaLink Air device which is a

portable patient interface device, a nasal cannula for measuring respiratory airflow, a respiratory

effort belt sensor for measuring respiratory effort, and a fingertip pulse oximeter for measuring

the oxygenation of the subject. See supra at ¶¶ 59-64.




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       231.    The ApneaLink Air device comprises a battery, at least one kinetic sensor for

measuring body position, and a non-volatile digital memory. See supra at ¶¶ 62, 65.

       232.    The ApneaLink Air also comprises first and second pressure transducers, a first

air port for connecting the nasal cannula to the first pressure transducer, and a second air port for

connecting respiratory effort belt to the second pressure transducer. The ApneaLink Air device

also comprises a releasable connector sensor input to electrically connect and disconnect the

fingertip pulse oximeter. See supra at ¶¶ 63-64.

       233.    ResMed instructs a subject to apply and connect the nasal cannula, the respiratory

effort belt, the pulse oximeter, to the subject and the ApneaLink Air device. See supra at ¶¶ 63-

64.

       234.    The ApneaLink Air measures and collects data from the sensors though the

portable interface box of the airflow, respiratory effort, body position or orientation and

oxygenation of the subject in a remote sleep location. See supra at ¶ 65.

       235.    The ApneaLink Air digitizes and stores the collected data from the subject in its

non-volatile digital memory. See supra at ¶ 62.

       236.    The ApneaLink Software and AirView contain a database accessible to

individuals of a sleep analysis unit or lab that is adapted for receiving the collected data

transferred from the ApneaLink Air device. See Ex. 54 at 18 (describing running the ApneaLink

software to complete data transfer and analysis, and having a database containing collected data,

including recordings and reports), id. at 20 (showing a database containing “[p]atient details,

recordings, and reports”); see also Ex. 53 at 3 ( “Test results from the ApneaLink Air are saved

to a secure database in the cloud, giving your sleep lab online access anytime and improving

collaboration across your business.”).




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         237.   The ApneaLink Software and AirView run on a computer or processor and

automatically analyzes the received data to identify and draw attention to physiological or

technological events indicative of a sleeping disorder. See supra at ¶¶ 59, 67, 69.

         238.   The ApneaLink Software and AirView provide for further analysis of the

transferred collected data and/or the identified physiological and technological events in the data

at the remote location to determine whether the subject suffers from a sleeping disorder. For

example, the ApneaLink Software has a Re-analyze tool “that repeats the analysis of a recording

based on the set analysis parameters” and “modif[ies] the report, the patient record or the records

(waveform data).” AirView also allows a user to customize the types of reports generated. See

Ex. 54 at 21; Ex. 42 at 1-2.

         239.   ResMed’s infringement of the ’118 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

         240.   CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of November 2019. ResMed’s actions are willful, blatant

and in egregious disregard for CleveMed’s patent rights. ResMed’s infringement has caused and

is continuing to cause damage and irreparable injury to CleveMed, and CleveMed will continue

to suffer damage and irreparable injury unless and until such infringement is enjoined by this

Court.

         241.   ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’118 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.




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                                          COUNT XII
                           (Indirect Infringement of the ’118 Patent)

       242.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       243.    CleveMed is informed and believes ResMed has induced infringement of at least

Claim 1 of the ’118 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 1 of the ’118 Patent under 35

U.S.C. § 271(c). ResMed has had knowledge of CleveMed’s ’118 Patent since at least as early

as November 2019.

       244.    CleveMed is informed and believes ResMed had knowledge of the ’118 Patent

and the ’118 Accused Products’ infringement of the Asserted Patents because in November

2019, CleveMed informed ResMed that CleveMed received Notices of Allowance for the ’118

Patent and its associated families.

       245.    CleveMed is informed and believes ResMed has induced infringement of the ’118

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to perform one or more of the steps of the method

claims either literally or under the doctrine of equivalents. All the elements of the claims are

used by either ResMed, its customers, partners, purchasers, and users, or some combination

thereof. CleveMed is informed and believes ResMed has known or was willfully blind to the

fact that it is inducing others to infringe by practicing, either themselves or in conjunction with

ResMed, one or more claims of the ’118 Patent, including Claim 1.

       246.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’118 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’118 Patent with the ’118 Accused



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Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement include, but are not limited to,

advising third parties to use the ’118 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’118 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’118 Accused Products must be used and

shows them being used in an infringing manner.

       247.    CleveMed is informed and believes ResMed contributorily infringes the ’118

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and

ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’118 Patent. In particular, ResMed

knows that its products are particularly suited to be used in an infringing manner and that

ResMed is aware that its products are not staple articles suitable for substantial non-infringing

use. CleveMed is informed and believes ResMed has known or was willfully blind to the fact

that it is contributing to the direct infringement of one or more claims of the ’118 Patent by its

customers, partners, purchasers, and users, including Claim 1.

       248.    In particular, ResMed has at least provided the ’118 Accused Products to others as

home sleep testing devices and computer technologies and these products are a material part

and/or component of the claims of the ’118 Patent. ResMed knows that its products are

particularly suited to be used on, or in combination with ResMed’s HST Devices and computer




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technologies and that these products are made and adapted for this use, even if some of these

components are not sold by ResMed with, or as part of, the ’118 Accused Products. In fact, in

many cases, the ’118 Accused Products can only function when used with these computer

technologies. For example, ResMed markets the ApneaLink Air and ApneaLink Air Software

together, stating “ApneaLink Air software provides clinicians access to a more in-depth view of

their patients’ recordings.” Ex. 52 at 2. Further, ResMed markets the ApneaLink Air and

AirView together, stating, “[t]est results from the ApneaLink Air are saved to a secure database

in the cloud [AirView] giving your sleep lab online access anytime and improving collaboration

across your business.” Ex. 53 at 3.

       249.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’118 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’118 Accused Products together with its customers, partners,

purchasers, and/or users to meet the elements of the ’118 Patent, as described above and

incorporated by reference here.

       250.    ResMed’s indirect infringement of the ’118 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       251.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       252.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       253.    ResMed has had knowledge of CleveMed’s ’118 Patent since at least as early as

November 2019. ResMed’s actions are willful, blatant and in egregious disregard for




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CleveMed’s patent rights. ResMed’s infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       254.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’118 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                          COUNT XIII
                            (Direct Infringement of the ’603 Patent)

       255.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       256.    ResMed has infringed and continues to infringe at least Claim 1 of the ’603 Patent

in violation of 35 U.S.C. § 271(a).

       257.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.

       258.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

       259.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’603 Patent, which includes, but is not limited to, the Accused HST

Solution: the ApneaLink Air device that has ApneaLink Software and/or AirView (collectively,

the “’603 Accused Products”).

       260.    CleveMed is informed and believes ResMed directs and controls the systems and

methods in the claims and obtains benefits from the control of the system as a whole. CleveMed



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is informed and believes ResMed conditions participation in the infringing activity and

establishes the manner or timing of that performance, as described below, by instructing and

encouraging users to use the ‘603 Accused Products in an infringing manner. ResMed and its

customers, partners, purchasers, and/or users put the article of manufacture and methods

described in the claims into service to the benefit of ResMed’s ability to further enhance its sleep

therapy capabilities. See, e.g., Ex. 13 at 1-2. To the extent any components of the claimed

systems are provided by ResMed’s customers, ResMed directly infringes by acting as the final

assembler of the infringing system. ResMed configures the infringing system that requires the

use of the infringing components. See, e.g., Ex. 54 at 5-15.

       261.    The ’603 Accused Products embody the patented invention of the ’603 Patent and

infringe the ’603 Patent because they function as a sleep diagnostic system. For example, the

ApneaLink Air device is a portable, wearable patient interface box that is worn by the subject

during a sleep test. See supra at ¶ 59.

       262.    The ApneaLink Air device comprises a battery, nonvolatile digital memory,

electronics including at least three input channels programmed to receive collected data in real-

time from at least three sensors at a remote sleep location in the nonvolatile digital memory, and

at least two sensor connectors adapted to electrically connect the at least three sensors directly to

the at least three input channels of the portable, wearable interface box. See supra at ¶¶ 59-64

       263.    The ApneaLink Air device has a transceiver to upload the collected data to the

database, the database adapted to operate at a first location which is different from the remote

sleep location where the subject is tested. See supra at ¶¶ 66-69.

       264.    The ApneaLink Air device has at least three sensors consisting of: a fingertip

pulse oximeter, a pressure sensor, and transducers. See supra at ¶¶ 61-64.




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        265.    The ApneaLink Air device’s three sensors are adapted to be applied to a finger

and a torso of the subject tested during sleep while located in a remote sleep location and

measure or derive at least the subject’s respiratory effort, snore and bloody oxygenation during

testing. See supra at ¶ 62 (showing respiratory effort, snore and bloody oxygenation signals are

recorded); id. at ¶ 64.

        266.    The at least three sensors are also electrically hardwired and/or releasable

connected to the three input channels on the interface box worn by the subject. See supra at

¶¶ 61-63.

        267.    The ApneaLink Software and AirView contain databases, accessible to

individuals from the sleep analysis unit or lab that receive the data collected from the ApneaLink

Air device’s memory and uploaded to the database by the transceiver. See supra at ¶ 66; see also

Ex. 54 at 18 (describing running the ApneaLink software to complete data transfer and analysis,

and having a database containing collected data, including recordings and reports), id. at 20

(showing a database containing “[p]atient details, recordings, and reports”); see also Ex. 53 at 3

(“Test results from the ApneaLink Air are saved to a secure database in the cloud, giving your

sleep lab online access anytime and improving collaboration across your business.”).

        268.    The ApneaLink Software and AirView are software that run on a computer or

processor adapted to operate at the first or a second location other than the remote sleep location

and automatically analyzes the received data to identify and draw attention to physiological

events indicative of a sleeping disorder in one or more of the respiratory effort, snore and blood

oxygenation from the data. See supra at ¶¶59, 67, 69; see also Ex. 54 at 21; Ex. 42 at 1-2.

        269.    The ApneaLink Software and AirView also consists of a two-way communication

link adapted output the i) respiratory effort, snore and blood oxygenation data from the database,




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ii) the identified and quantified physiological events in the data, or both i) and ii) in a form

adapted for a professional medical diagnosis of whether the subject suffers from a sleeping

disorder. See supra at ¶¶ 68-69.

       270.    ResMed’s infringement of the ’603 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       271.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier. ResMed’s

actions are willful, blatant and in egregious disregard for CleveMed’s patent rights. ResMed’s

infringement has caused and is continuing to cause damage and irreparable injury to CleveMed,

and CleveMed will continue to suffer damage and irreparable injury unless and until such

infringement is enjoined by this Court.

       272.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’603 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                           COUNT XIV
                            (Indirect Infringement of the ’603 Patent)

       273.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       274.    CleveMed is informed and believes ResMed has induced infringement of at least

Claim 1 of the ’603 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 1 of the ’603 Patent under 35

U.S.C. § 271(c).

       275.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier.



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       276.    CleveMed is informed and believes ResMed has induced infringement of the ’603

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to provide one or more components of the article of

manufacturing, either literally or under the doctrine of equivalents. All the elements of the

claims are used by either ResMed, its customers, partners, purchasers, and users, or some

combination thereof. CleveMed is informed and believes ResMed has known or was willfully

blind to the fact that it is inducing others to infringe by practicing, either themselves or in

conjunction with ResMed, one or more claims of the ’603 Patent, including Claim 1.

       277.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’603 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’603 Patent with the ‘603 Accused

Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement include, but are not limited to,

advising third parties to use the ’603 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’603 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’603 Accused Products must be used and

shows them being used in an infringing manner.

       278.    CleveMed is informed and believes ResMed contributorily infringes the ’603

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and




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ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’603 Patent. In particular, ResMed

knows that its products are particularly suited to be used in an infringing manner and that

ResMed is aware that its products are not staple articles suitable for substantial non-infringing

use. CleveMed is informed and believes ResMed has known or was willfully blind to the fact

that it is contributing to the direct infringement of one or more claims of the ’603 Patent by its

customers, partners, purchasers, and users, including Claim 1.

       279.    In particular, ResMed has at least provided the ’603 Accused Products to others as

home sleep testing devices and computer technologies and these products are a material part

and/or component of the claims of the ’603 Patent. ResMed knows that its products are

particularly suited to be used on, or in combination with ResMed’s HST Devices and computer

technologies and that these products are made and adapted for this use, even if some of these

components are not sold by ResMed with, or as part of, the ’603 Accused Products. In fact, in

many cases, the ’603 Accused Products can only function when used with these computer

technologies. For example, ResMed markets the ApneaLink Air and ApneaLink Air Software

together, stating “ApneaLink Air software provides clinicians access to a more in-depth view of

their patients’ recordings.” Ex. 52 at 2. Further, ResMed markets the ApneaLink Air and

AirView together, stating, “[t]est results from the ApneaLink Air are saved to a secure database

in the cloud [AirView] giving your sleep lab online access anytime and improving collaboration

across your business.” Ex. 53 at 3.

       280.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’603 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’603 Accused Products together with its customers, partners,




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purchasers, and/or users to meet the elements of the ’603 Patent, as described above and

incorporated by reference here.

       281.    ResMed’s indirect infringement of the ’603 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       282.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       283.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       284.    ResMed’s actions are willful, blatant and in egregious disregard for CleveMed’s

patent rights. ResMed’s infringement has caused and is continuing to cause damage and

irreparable injury to CleveMed, and CleveMed will continue to suffer damage and irreparable

injury unless and until such infringement is enjoined by this Court.

       285.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’603 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                          COUNT XV
                            (Direct Infringement of the ’637 Patent)

       286.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       287.    ResMed has infringed and continues to infringe at least Claim 1 of the ’637 Patent

in violation of 35 U.S.C. § 271(a).

       288.    ResMed’s infringement is based upon literal infringement or infringement under

the doctrine of equivalents, or both.



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        289.    ResMed’s acts of making, using, importing, selling, and/or offering for sale

infringing products and services have been without the permission, consent, authorization, or

license of CleveMed.

        290.    ResMed’s infringement includes, but is not limited to, the manufacture, use, sale,

importation and/or offer for sale of ResMed’s products and services incorporating the HST

solution described in the ’637 Patent, which includes, but is not limited to, the Accused HST

Solution: the ApneaLink Air device that has ApneaLink Software and/or the AirView

(collectively, the “’637 Accused Products”).

        291.    To the extent any components of the claimed systems are provided by ResMed’s

customers, ResMed directly infringes by acting as the final assembler of the infringing system.

ResMed configures the infringing system that requires the use of the infringing components.

See, e.g., Ex. 54 at 5-15.

        292.    CleveMed is informed and believes ResMed directs and controls the systems and

methods in the claims and obtains benefits from the control of the system as a whole. ResMed

and its customers, partners, purchasers, and/or users put the article of manufacture and methods

described in the claims into service to the benefit of ResMed’s ability to further enhance its sleep

therapy capabilities. See, e.g., Ex. 13 at 1-2.

        293.    The ’637 Accused Products embody the patented invention of the ’637 Patent and

infringe the ’637 Patent because they are a system for conducting a home sleep analysis of a

subject. For example, the ApneaLink Air device is a portable patient interface box that connects

with a snore sensor and/or a nasal cannula that is worn by the subject, a respiratory effort sensor

attached to a belt that is worn by the subject and measures respiratory effort, and a fingertip pulse




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oximeter that is applied to the subject’s fingertip and measures blood oxygenation of the subject.

See supra at ¶¶ 59-64.

       294.    The ApneaLink Air device additionally has a kinetic sensor that measures body

position. See supra at ¶ 65.

       295.    The ApneaLink Air device also has a wearable portable interface box that

connects to a nasal cannula, the respiratory effort sensor, and the fingertip pulse oximeter. See

supra at ¶¶ 59 and 62.

       296.    The ApneaLink Air device comprises a processor, memory, battery, a transceiver

or transmitter, first and second pressure transducers, a first air port for connecting the nasal

cannula to the first pressure transducer, and a second air port for connecting respiratory effort

belt to the second pressure transducer. See supra at ¶¶ 62-66.

       297.    The ApneaLink Air device obtains airflow and/or snore data from the snore

sensor and/or the airflow sensor for the nasal cannula, respiratory effort data from the output of

the respiratory effort sensor, blood oxygenation data from the output of the fingertip pulse

oximeter, and body position or orientation data from the kinetic sensor. See supra at ¶ 65.

       298.    The ApneaLink Air device further consists of a transceiver to upload the obtained

data to a remote database for analysis by a software stored on a processor. See supra at ¶¶ 66-69.

       299.    The ApneaLink Software and AirView are software that is stored on a processor

and configured to automatically analyze the obtained data to identify one or more physiological

or technological indicative of a sleeping disorder. See supra at ¶¶ 59, 67, 69; see also Ex. 54 at

21; Ex. 42 at 1-2.

       300.    ApneaLink Air Software and AirView are additionally adapted for outputting at

least: (i) one or more of the airflow data, snore data, respiratory effort data, blood oxygenation




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data, and body position data, and/or (ii) the identified physiological and technological events, to

facilitate a determination as to whether the subject suffers from a sleeping disorder. See supra at

¶¶ 68-69.

       301.    ResMed’s infringement of the ’637 Patent has injured and continues to injure

CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       302.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier. ResMed’s

actions are willful, blatant and in egregious disregard for CleveMed’s patent rights. ResMed’s

infringement has caused and is continuing to cause damage and irreparable injury to CleveMed,

and CleveMed will continue to suffer damage and irreparable injury unless and until such

infringement is enjoined by this Court.

       303.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’637 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                          COUNT XVI
                           (Indirect Infringement of the ’637 Patent)

       304.    CleveMed repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs.

       305.    CleveMed is informed and believes ResMed has induced infringement of at least

Claim 1 of the ’637 Patent under 35 U.S.C. § 271(b). Further, CleveMed is informed and

believes ResMed has also contributorily infringed at least Claim 1 of the ’637 Patent under 35

U.S.C. § 271(c).

       306.    CleveMed is informed and believes ResMed has had knowledge of CleveMed’s

patented technology since at least as of the date of this Complaint, if not earlier.



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       307.    CleveMed is informed and believes ResMed has induced infringement of the ’637

Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

its customers, partners, purchasers, and users to provide one or more components of the article of

manufacturing, either literally or under the doctrine of equivalents. All the elements of the

claims are used by either ResMed, its customers, partners, purchasers, and users, or some

combination thereof. CleveMed is informed and believes ResMed has known or was willfully

blind to the fact that it is inducing others to infringe by practicing, either themselves or in

conjunction with ResMed, one or more claims of the ’637 Patent, including Claim 1.

       308.    CleveMed is informed and believes ResMed knowingly and actively aided and

abetted the direct infringement of the ’637 Patent by instructing and encouraging its customers,

purchasers, partners, and/or users to meet the elements of the ’637 Patent with the ’637 Accused

Products, despite knowing or remaining willfully blind to the fact that the encouraged acts

caused infringement. Such instructions and encouragement include, but are not limited to,

advising third parties to use the ’637 Accused Products in an infringing manner through direct

communications; training and support contracts, sales calls between ResMed employees and its

customers; directing distributors, partners, and manufacturers how to install and configure the

Accused Products; and by advertising and promoting the use of the ’637 Accused Products in an

infringing manner, including the material cited herein and above in the direct infringement

allegations. Further, ResMed distributes release notes, webinars, guidelines, videos, manuals,

white papers, and trainings to third parties on how the ’637 Accused Products must be used and

shows them being used in an infringing manner.

       309.    CleveMed is informed and believes ResMed contributorily infringes the ’637

Patent pursuant to 35 U.S.C. § 271(c) because it has provided software such as AirView and




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ApneaLink Software and computer systems with software installed such as the ApneaLink Air

device, that act as a material component of the claims of the ’637 Patent. In particular, ResMed

knows that its products are particularly suited to be used in an infringing manner and that

ResMed is aware that its products are not staple articles suitable for substantial non-infringing

use. ResMed has known or was willfully blind to the fact that it is contributing to the direct

infringement of one or more claims of the ’637 Patent by its customers, partners, purchasers, and

users, including Claim 1.

       310.    In particular, ResMed has at least provided the ’637 Accused Products to others as

home sleep testing devices and computer technologies and these products are a material part

and/or component of the claims of the ’637 Patent. ResMed knows that its products are

particularly suited to be used on, or in combination with ResMed’s HST Devices and computer

technologies and that these products are made and adapted for this use, even if some of these

components are not sold by ResMed with, or as part of, the ’637 Accused Products. In fact, in

many cases, the ’637 Accused Products can only function when used with these computer

technologies. For example, ResMed markets the ApneaLink Air and ApneaLink Air Software

together, stating “ApneaLink Air software provides clinicians access to a more in-depth view of

their patients’ recordings.” Ex. 52 at 2. Further, ResMed markets the ApneaLink Air and

AirView together, stating, “[t]est results from the ApneaLink Air are saved to a secure database

in the cloud [AirView] giving your sleep lab online access anytime and improving collaboration

across your business.” Ex. 53 at 3.

       311.    CleveMed is informed and believes ResMed has knowingly and actively

contributed to the direct infringement of the ’637 Patent by its manufacture, use, offer to sell,

sale, and importation of the ’637 Accused Products together with its customers, partners,




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purchasers, and/or users to meet the elements of the ’637 Patent, as described above and

incorporated by reference here.

       312.    ResMed’s indirect infringement of the ’637 Patent has injured and continues to

injure CleveMed in an amount to be proven at trial, but not less than a reasonable royalty.

       313.    ResMed’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to CleveMed, and CleveMed will continue to suffer damage and

irreparable injury unless and until such infringement is enjoined by this Court.

       314.    CleveMed is entitled to injunctive relief, damages and any other relief in

accordance with 35 U.S.C. §§ 283, 284, and 285.

       315.    ResMed’s actions are willful, blatant and in egregious disregard for CleveMed’s

patent rights. ResMed’s infringement has caused and is continuing to cause damage and

irreparable injury to CleveMed, and CleveMed will continue to suffer damage and irreparable

injury unless and until such infringement is enjoined by this Court.

       316.    ResMed acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’637 Patent, justifying an award to CleveMed of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

                                  DEMAND FOR JURY TRIAL

       317.    In accordance with Rule 38.1 of the Federal Rule of Civil Procedure, CleveMed

demands a jury trial on all issues so triable.

                                     PRAYER FOR RELIEF

       WHEREFORE, CleveMed prays for judgment and relief as follows:

       A.      An entry of judgment holding that ResMed has infringed and is infringing the

’269, ’399, ’535, ’937, ’698, ’118, ’603, and ’637 Patents; and has induced infringement and is




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inducing infringement of the ’269, ’399, ’535, ’937, ’698, ’118, ’603, and ’637 Patents; and/or

has contributorily infringed and continues to contribute to infringement of the ’269, ’399, ’535,

’937, ’698, ’118, ’603, and ’637 Patents.

       B.      A preliminary and permanent injunction against ResMed and its officers,

employees, agents, servants, attorneys, instrumentalities, and/or those in privity with them, from

infringing, or inducing the infringement of the ’269, ’399, ’535, ’937, ’698, ’118, ’603, and ’637

Patents and for all further and proper injunctive relief pursuant to 35 U.S.C. § 283;

       C.      An award to CleveMed of such damages as it shall prove at trial against ResMed

that is adequate to fully compensate CleveMed for ResMed’s infringement of the ’269, ’399,

’535, ’937, ’698, ’118, ’603, and ’637 Patents said damages to be no less than a reasonable

royalty;

       D.      An award to CleveMed of increased damages under 35 U.S.C. § 284, including

that ResMed willfully infringed the ’269, ’399, ’535, ’937, ’698, ’118, ’603, and ’637 Patents;

       E.      A finding that this case is “exceptional” and an award to CleveMed of its costs

and reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;

       F.      An accounting of all infringing sales and revenues, together with post judgment

interest and prejudgment interest from the first date of infringement of the ’269, ’399, ’535, ’937,

’698, ’118, ’603, and ’637 Patents; and

       G.      Such further and other relief as the Court may deem proper and just.




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